Case 2:08-cr-02091-RHW   ECF No. 77   filed 05/26/09   PageID.222 Page 1 of 6
Case 2:08-cr-02091-RHW   ECF No. 77   filed 05/26/09   PageID.223 Page 2 of 6
Case 2:08-cr-02091-RHW   ECF No. 77   filed 05/26/09   PageID.224 Page 3 of 6
Case 2:08-cr-02091-RHW   ECF No. 77   filed 05/26/09   PageID.225 Page 4 of 6
Case 2:08-cr-02091-RHW   ECF No. 77   filed 05/26/09   PageID.226 Page 5 of 6
Case 2:08-cr-02091-RHW   ECF No. 77   filed 05/26/09   PageID.227 Page 6 of 6
